Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 1 of 19 Page ID #:453




 1   WALSH & ASSOCIATES, APC
     16633 Ventura Boulevard, Suite 800
 2
     Encino, CA 91436
 3   Telephone: (818) 986-1776
     Facsimile: (818) 382-2071
 4
     DENNIS J. WALSH, Esq. (SBN 106646)
 5   Email: dwalsh@walshlawyers.com
     ARASH ARJANG, Esq. (SBN 276237)
 6
     Email: aarjang@walshlawyers.com
 7
 8   Attorneys for Defendants, JURUPA UNIFIED
     SCHOOL DISTRICT, TRENTON HANSEN, and
 9   DANIEL BROOKS
10                             UNITED STATES DISTRICT COURT
11                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13   JESSICA TAPIA, an individual,              Case No.: 5:23-cv-00789-FMO-E
14
                  Plaintiff,                    VERIFIED ANSWER OF
15                                              DEFENDANTS TO PLAINTIFF’S
16         v.                                   VERIFIED FIRST AMENDED
                                                COMPLAINT
17   JURUPA UNIFIED SCHOOL
18   DISTRICT; TRENTON HANSEN,                  Hon. Fernando M. Olguin, United States
     both in his personal capacity and in his   District Judge
19   official capacity as the Jurupa Unified
20   School District Superintendent;            Magistrate Judge: Hon. Charles F. Eick
     DANIEL BROOKS, both in his
21   personal capacity and in his official      Action Date: May 3, 2023
22   capacity as Jurupa Unified School          Trial date:  September 17, 2024
     District Assistant Superintendent,
23
24
                  Defendants.
25
26
27
28
               VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
           FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 2 of 19 Page ID #:454




 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         COME NOW Defendants JURUPA UNIFIED SCHOOL DISTRICT, a public
 3   entity, (“JUSD” or “District”), TRENTON HANSEN, a public entity employee
 4   (“Hansen”), and DANIEL BROOKS, a public entity employee (“Brooks”) (collectively
 5   “Defendants”) hereby answering the verified First Amended Complaint (“FAC”) filed
 6   by Plaintiff JESSICA TAPIA (“Plaintiff”) and hereby admitting, denying, and alleging
 7   as follows:
 8                                    INTRODUCTION
 9      1. Admit.
10      2. Defendants are without sufficient knowledge to admit or deny the allegations
11         and thereupon deny the allegations.
12      3. Defendants admit that JUSD issued a Notice of Unprofessional Conduct to
13         Plaintiff on September 30, 2022, but deny the allegation that “JUSD issued
14         twelve meritless allegations against Ms. Tapia.”
15      4. Admit.
16      5. Defendants admit the allegations in Paragraph 5 that JUSD included in its
17         Notice of Unprofessional Conduct a “Plan of Assistance and Directives”, except
18         to deny the allegation that “the directives required Ms. Tapia lie to parents
19         about their children’s gender identity.”
20      6. Defendants are without sufficient knowledge to admit or deny the allegations
21         and thereupon deny the allegations.
22      7. Deny.
23      8. These conclusionary allegations do not require an answer. To the extent that an
24         answer is required, Defendants are without sufficient knowledge to admit or
25         deny the allegations and thereupon deny the allegations.
26                                 PARTIES - PLAINTIFF
27      9. Admit.
28                                      2
                VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
            FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 3 of 19 Page ID #:455




 1                              PARTIES - DEFENDANT
 2     10. Admit.
 3     11. Defendants admit that Hansen was the Superintendent for JUSD.            The
 4         remainder of the allegations are denied.
 5     12. Defendants admit that Brooks was the Assistant Superintendent for JUSD. The
 6         remainder of the allegations are denied.
 7                           JURISDICTION AND VENUE
 8     13. Admit.
 9     14. Admit.
10     15. Admit.
11     16. Admit.
12     17. Admit.
13                              STATEMENT OF FACTS
14   A. Ms. Tapia’s Background and Employment History
15     18. Defendants are without sufficient knowledge to admit or deny the allegations
16         and thereupon deny the allegations.
17     19. Admit.
18     20. Admit.
19     21. Admit.
20     22. Admit.
21     23. Admit.
22     24. Defendants are without sufficient knowledge to admit or deny the allegations
23         and thereupon deny the allegations.
24     25. Defendants are without sufficient knowledge to admit or deny the allegations
25         and thereupon deny the allegations.
26     26. Admit.
27     27. Admit.
28                                     3
               VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
           FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 4 of 19 Page ID #:456




 1      28. Admit.
 2   B. Ms. Tapia’s Religious Beliefs
 3      29. Defendants are without sufficient knowledge to admit or deny the allegations
 4          and thereupon deny the allegations.
 5      30. Defendants are without sufficient knowledge to admit or deny the allegations
 6          and thereupon deny the allegations.
 7      31. Defendants are without sufficient knowledge to admit or deny the allegations
 8          and thereupon deny the allegations.
 9      32. Defendants are without sufficient knowledge to admit or deny the allegations
10          and thereupon deny the allegations.
11      33. Defendants are without sufficient knowledge to admit or deny the allegations
12          and thereupon deny the allegations.
13      34. Defendants are without sufficient knowledge to admit or deny the allegations
14          and thereupon deny the allegations.
15   C. JUSD’s Allegations and Directives
16      35. Admit.
17      36. Admit.
18      37. Admit.
19      38. Defendants admit that Mr. Brooks asked Plaintiff to respond to the allegations
20          as part of the internal investigation, but deny the remainder of the allegations,
21          specifically that the allegations were unfounded.
22      39. Admit.
23      40. Admit.
24      41. Deny specifically as to “allegations were a mischaracterization of who Ms.
25          Tapia is.” As to the remainder of the allegations, Defendants are without
26          sufficient knowledge to admit or deny the allegations and thereupon deny the
27          allegations.
28                                      4
                VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
            FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 5 of 19 Page ID #:457




 1    42. Defendants are without sufficient knowledge to admit or deny the allegations
 2         and thereupon deny the allegations.
 3    43. Defendants are without sufficient knowledge to admit or deny the allegations
 4         and thereupon deny the allegations.
 5    44. Admit that JUSD directed Plaintiff to refrain from discussing religious beliefs
 6         or the Bible with students.
 7    45. Defendants are without sufficient knowledge to admit or deny the allegations
 8         and thereupon deny the allegations.
 9    46. Admit that JUSD directed Plaintiff to address students by their preferred name
10         and preferred gender pronouns.
11    47. Deny.
12    48. Deny.
13    49. Admit.
14    50. Admit.
15    51. Admit.
16    52. Admit.
17    53. Admit.
18    54. Deny. Defendants at all times worked to protect the safety and wellbeing of
19         all students and to comply with the law as they understood it.
20    55. Admit.
21    56. Admit.
22    57. Admit.
23    58. Admit.
24    59. Admit.
25    60. Admit.
26    61. Deny.
27    62. Admit.
28                                     5
               VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
           FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 6 of 19 Page ID #:458




 1     63. Deny specifically as to the allegation that “School districts are given
 2          discretion when applying the Board Policies and Education Code section
 3          220.” JUSD understands that the laws and regulations require its employees
 4          to affirm a child’s preferred gender and allow them to use the locker room or
 5          bathroom of their choice.
 6     64. Admit.
 7     65. Admit that JUSD issued certain directives to Plaintiff. Deny as to any other
 8          inference.
 9     66. Admit.
10     67. Defendants are without sufficient knowledge to admit or deny the allegations
11          and thereupon deny the allegations.
12   D. JUSD’s Denial of Request for a Religious Accommodation
13     68. Admit.
14     69. Admit as to what Plaintiff stated. With respect to the statements themselves,
15          Defendants are without sufficient knowledge to admit or deny the allegations
16          and thereupon deny the allegations.
17     70. Admit as to what Plaintiff stated. With respect to the statements themselves,
18          Defendants are without sufficient knowledge to admit or deny the allegations
19          and thereupon deny the allegations.
20     71. Admit as to what Plaintiff stated. With respect to the statements themselves,
21          Defendants are without sufficient knowledge to admit or deny the allegations
22          and thereupon deny the allegations.
23     72. Admit as to what Plaintiff stated. Deny as to the remainder of the allegations.
24     73. Admit.
25     74. Admit.
26     75. Admit.
27     76. Admit.
28                                     6
               VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
           FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 7 of 19 Page ID #:459




 1     77. Defendants are without sufficient knowledge to admit or deny the allegations
 2         and thereupon deny the allegations.
 3     78. Defendants are without sufficient knowledge to admit or deny the allegations
 4         and thereupon deny the allegations.
 5     79. Defendants are without sufficient knowledge to admit or deny the allegations
 6         and thereupon deny the allegations.
 7     80. Deny.
 8     81. Deny.
 9     82. Deny.
10     83. Deny.
11     84. Deny.
12     85. Deny.
13     86. Deny.
14     87. Deny.
15     88. Deny.
16     89. Deny.
17     90. Admit.
18     91. Admit.
19     92. Admit.
20     93. Deny.
21     94. Deny.
22   E. JUSD’s Termination of Ms. Tapia’s Employment
23     95. Admit.
24     96. Deny.
25     97. Admit.
26     98. Admit.
27
28                                     7
               VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
           FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 8 of 19 Page ID #:460




 1     99. Defendants are without sufficient knowledge to admit or deny the allegations
 2         and thereupon deny the allegations.
 3     100. Defendants are without sufficient knowledge to admit or deny the allegations
 4         and thereupon deny the allegations.
 5     101. Defendants are without sufficient knowledge to admit or deny the allegations
 6         and thereupon deny the allegations.
 7   F. JUSD’s Termination of Ms. Tapia’s Employment
 8     102. Defendants are without sufficient knowledge to admit or deny the allegations
 9         and thereupon deny the allegations.
10     103. Defendants are without sufficient knowledge to admit or deny the allegations
11         and thereupon deny the allegations.
12     104. Defendants are without sufficient knowledge to admit or deny the allegations
13         and thereupon deny the allegations.
14                             FIRST CAUSE OF ACTION
15                      Violation of the Free Exercise Clause of the
16                  First Amendment to the United States Constitution
17                                   (42 U.S.C. § 1983)
18     105. Defendants incorporate by reference all responses contained in the preceding
19           paragraphs as thought fully set forth herein.
20     106. Admit.
21     107. These allegations are legal conclusions regarding Plaintiff’s interpretation of
22           the law and do not require admission or denial.
23     108. Defendants are without sufficient knowledge to admit or deny the
24           allegations and thereupon deny the allegations.
25     109. Deny.
26     110. Deny.
27     111. Deny.
28                                     8
               VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
           FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 9 of 19 Page ID #:461




 1    112. Deny.
 2    113. Deny.
 3    114. Deny.
 4    115. Deny.
 5     116. Deny.
 6     117. Deny.
 7     118. Deny.
 8     119. Deny.
 9     120. Deny.
10     121. Deny.
11                            SECOND CAUSE OF ACTION
12                       Violation of the Free Speech Clause of the
13                  First Amendment to the United States Constitution
14                                   (42 U.S.C. § 1983)
15     122. Defendants incorporate by reference all responses contained in the preceding
16           paragraphs as thought fully set forth herein.
17     123. These allegations are legal conclusions regarding Plaintiff’s interpretation of
18           the law and do not require admission or denial.
19     124. Deny.
20     125. Deny.
21     126. Deny.
22     127. Deny.
23     128. Deny.
24     129. Deny.
25     130. Deny.
26     131. Deny.
27     132. Deny.
28                                     9
               VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
           FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 10 of 19 Page ID #:462




 1     133. Deny.
 2     134. Deny.
 3     135. Deny.
 4     136. Deny.
 5     137. Deny.
 6     138. Deny.
 7     139. Deny.
 8                             THIRD CAUSE OF ACTION
 9        Violation of the Due Process Clause to the United States Constitution
10                                   (42 U.S.C. § 1983)
11     140. Defendants incorporate by reference all responses contained in the preceding
12           paragraphs as thought fully set forth herein.
13     141. Deny.
14     142. Deny.
15     143. Deny.
16     144. Deny.
17     145. Deny.
18     146. Deny.
19     147. Deny.
20     148. Deny.
21                            FOURTH CAUSE OF ACTION
22           Violation of the California’s Fair Employment and Housing Act
23                               (Cal. Gov’t Code § 12940)
24     149. Defendants incorporate by reference all responses contained in the preceding
25         paragraphs as thought fully set forth herein.
26     150. Admit.
27     151. Admit.
28                                    10
               VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
           FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 11 of 19 Page ID #:463




 1     152. Deny.
 2     153. Deny.
 3     154. Deny.
 4     155. Deny.
 5                              FIFTH CAUSE OF ACTION
 6                                  Violation of Title VII
 7                               (42 U.S.C. § 2000e, et seq.)
 8     156. Defendants incorporate by reference all responses contained in the preceding
 9         paragraphs as thought fully set forth herein.
10     157. These allegations are legal conclusions regarding Plaintiff’s interpretation of
11         the law and do not require admission or denial.
12     158. Deny.
13     159. Deny.
14     160. Deny.
15     161. Deny.
16     162. Deny.
17     163. Deny.
18     164. Deny.
19                              SIXTH CAUSE OF ACTION
20        Deprivation of Civil Rights Under 42 U.S.C. § 1983 (First Amendment
21                                       Retaliation)
22     165. Defendants incorporate by reference all responses contained in the preceding
23         paragraphs as thought fully set forth herein.
24     166. Admit.
25     167. These allegations are legal conclusions regarding Plaintiff’s interpretation of
26         the law and do not require admission or denial.
27
28                                    11
               VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
           FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 12 of 19 Page ID #:464




 1      168. These allegations are legal conclusions regarding Plaintiff’s interpretation of
 2          the law and do not require admission or denial.
 3      169. Deny.
 4      170. Deny.
 5      171. Deny.
 6      172. Deny.
 7                                 PRAYER FOR RELIEF
 8       1. Answering plaintiff’s prayer for relief number 1, no admission or denial is
 9          required.
10       2. Answering plaintiff’s prayer for relief number 2, no admission or denial is
11          required.
12       3. Answering plaintiff’s prayer for relief number 3, no admission or denial is
13          required.
14       4. Answering plaintiff’s prayer for relief number 4, no admission or denial is
15          required.
16       5. Answering plaintiff’s prayer for relief number 5, no admission or denial is
17          required.
18       6. Answering plaintiff’s prayer for relief number 6, no admission or denial is
19          required.
20       7. Answering plaintiff’s prayer for relief number 7, no admission or denial is
21          required.
22                               AFFIRMATIVE DEFENSES
23         DEFENDANTS alleges and asserts the following additional defenses in response
24   to the allegations of the Complaint, undertaking the burden of proof only as to those
25   defenses required by law, regardless of how such defenses are denominated herein. In
26   addition to defenses pled herein, DEFENDANTS reserves the right to allege additional
27   defenses that become known through the course of discovery or otherwise.
28                                     12
                VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
            FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 13 of 19 Page ID #:465




 1      FIRST AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT AND
 2                 EACH PURPORTED CAUSE OF ACTION THEREIN
 3         1.     The Complaint, and any purported cause of action alleged therein, fails to
 4   state facts sufficient to constitute a claim in federal court.
 5    SECOND AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT AND
 6                 EACH PURPORTED CAUSE OF ACTION THEREIN
 7         2.     Any recovery on plaintiff’s Complaint, or any purported cause of action
 8   alleged therein, is barred by Plaintiff’s failure to exhaust administrative remedies and
 9   properly perfect a right of action under the California Fair Employment and Housing
10   Act (Government Code §12940, et seq.), the Rehabilitation Act (29 C.F.R. § 1614.105,
11   42 U.S.C. §2000e-5) and/or California Government Claims Act (Government Code
12   §900, et seq.), including but not limited to Government Code §§911.2, 950.2 and 950.6,
13   Labor Code §§ 98.6 and 98.7, Civil Code, Code of Civil Procedure, the CFRA, and
14   internal grievance procedures of the collective bargaining agreement.
15     THIRD AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT AND
16                 EACH PURPORTED CAUSE OF ACTION THEREIN
17         3.     Any recovery on plaintiff’s Complaint, or any purported cause of action
18   alleged therein, is barred by the applicable statute of limitations, including, but not
19   limited to, those contained in Code of Civil Procedure §§335.1, 337, 338, 339, 340, 342
20   and Government Code §900 et seq., including but not limited to §945.6, the California
21   Fair Employment and Housing Act, Government Code §§ 12960 and 12965, and 42
22   USC §2000e-5(f)(1).         Specifically, Plaintiff failed exhaust her administrative
23   requirements in that she failed to file a timely complaint with the DFEH.
24    FOURTH AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT AND
25                 EACH PURPORTED CAUSE OF ACTION THEREIN
26         4.     Defendants have engaged attorneys to represent them in defense of
27   plaintiff’s, frivolous, unfounded and unreasonable Complaint and therefore is entitled
28                                      13
                 VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
             FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 14 of 19 Page ID #:466




 1   to recover from plaintiff its attorneys’ fees incurred in defending this matter, pursuant
 2   to Government Code §12965, Code of Civil Procedure §1038, and Code of Civil
 3   Procedure §128.7, and upon judgment thereon in its favor.
 4     FIFTH AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT AND
 5                 EACH PURPORTED CAUSE OF ACTION THEREIN
 6         5.     Any cause of action alleging emotional and physical injury is barred and
 7   preempted by the exclusive remedy provisions set forth in the California Workers’
 8   Compensation Act, Labor Code § 3600, et seq. Plaintiff alleges damages related to pain
 9   and suffering and emotional distress which Defendant believes is preempted by the
10   Workers’ Compensation Act.
11     SIXTH AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT AND
12                 EACH PURPORTED CAUSE OF ACTION THEREIN
13         6.     Any recovery on the Complaint, or any purported cause of action alleged
14   therein, is untimely and barred by the doctrine of laches.
15   SEVENTH AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT AND
16                 EACH PURPORTED CAUSE OF ACTION THEREIN
17         7.     Plaintiff is estopped from recovering any relief under the Complaint, or
18   any purported cause of action alleged therein.
19    EIGHTH AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT AND
20                 EACH PURPORTED CAUSE OF ACTION THEREIN
21         8.     Plaintiff failed to exhaust her administrative remedies and/or judicial
22   remedies pursuant to internal grievance procedures and Code of Civil Procedure
23   Section 1094.6. Plaintiff commenced internal proceedings with the District but failed
24   to exhaust these remedies prior to filing suit. Once Plaintiff opted to utilize the internal
25   complaint process, she was obligated to exhaust this path prior to initiating civil
26   litigation, including by way of administrative writ of mandate. Plaintiff’s failure to
27   exhaust her administrative remedies precludes all causes of action.
28                                      14
                 VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
             FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 15 of 19 Page ID #:467




 1     NINTH AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT AND
 2                 EACH PURPORTED CAUSE OF ACTION THEREIN
 3         9.     Answering Defendants are immune from liability pursuant to the
 4   provisions of the California Tort Claims Act set forth in Government Code §§ 810, et.
 5   seq., including, but not limited to, sections 815, 815.2, 818.8, 820, 820.2, 820.6, 820.8,
 6   821, 821.6, and 822.2, such as the discretionary immunity of Government Code §§
 7   820.2 and 815.2 and pursuant to Caldwell v. Montoya (1995) 10 Cal.4th 972.
 8   Specifically, Plaintiff has improperly alleged damage claims for attorney’s fees for
 9   which Defendants are immune.
10     TENTH AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT AND
11                 EACH PURPORTED CAUSE OF ACTION THEREIN
12         10.    Defendant alleges that neither Defendants, nor any agent or employee
13   thereof, are liable for the damages, if any, alleged in the Complaint, by reason of the
14   provisions of California Government Code §815, in that a public entity is not liable for
15   any injury, whether such injury arises out of an act or omission of the public entity, or
16   a public employee, or any other person except as provided by statute.
17     ELEVENTH AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT
18               AND EACH PURPORTED CAUSE OF ACTION THEREIN
19         11.    Any and all conduct of which Plaintiff complains and which is attributed
20   to these Defendants or their agents or employees was a just and proper exercise of
21   management’s discretion on the part of Defendants or their agents or employees and
22   was undertaken for a fair and honest reason and regulated by good faith and probable
23   cause under the circumstances existing at the time the subject decisions were made.
24   Defendants acted within managerial discretion as to decisions to terminate Plaintiff’s
25   employment for cause.
26   TWELFTH AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT AND
27                 EACH PURPORTED CAUSE OF ACTION THEREIN
28                                      15
                 VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
             FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 16 of 19 Page ID #:468




 1         12.    Defendants allege that their actions involving Plaintiff, if any, were based
 2   solely on legitimate, good-faith, non-discriminatory, non-retaliatory, non-harassing
 3   business reasons. Defendants’ actions were based on a clear reading of the collective
 4   bargaining agreement and applicable statutes under the California Education Code in
 5   terminating Plaintiff for cause.
 6    THIRTEENTH AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT
 7               AND EACH PURPORTED CAUSE OF ACTION THEREIN
 8         13.    Any recovery on plaintiff’s Complaint, or any purported cause of action
 9   therein, is barred because this Court lacks jurisdiction over such claims. Specifically,
10   Plaintiff cannot maintain her Title VII causes of action because Plaintiff failed to file a
11   timely complaint following her DFEH right to sue and failed to make a timely EEOC
12   complaint following her DFEH right to sue. As such, this court is unable to maintain
13   federal-question jurisdiction.
14   FOURTEENTH AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT
15               AND EACH PURPORTED CAUSE OF ACTION THEREIN
16         14.    Any recovery on plaintiff’s Complaint, or any purported cause of action
17   therein, is barred by the doctrine of collateral estoppel as the result of Plaintiff’s pursuit
18   of administrative remedies before an administrative law judge and failure to exhaust
19   that process once started.
20     FIFTEENTH AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT
21               AND EACH PURPORTED CAUSE OF ACTION THEREIN
22         15.    Plaintiff’s claims barred because at no time did Defendants act with the
23   purpose, or intent of violating Plaintiff’s civil rights, nor did the Defendant’s actions
24   have a disproportionate impact on Plaintiff.
25     SIXTEENTH AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT
26               AND EACH PURPORTED CAUSE OF ACTION THEREIN
27         16.    Plaintiff’s claims are barred because no causal relationship exists between
28                                      16
                 VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
             FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 17 of 19 Page ID #:469




 1   any injuries, loss or damages, if any, suffered by Plaintiff and the alleged wrongful
 2   actions, if any, of the Defendant.
 3   SEVENTEENTH AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT
 4               AND EACH PURPORTED CAUSE OF ACTION THEREIN
 5         17.    Plaintiff is barred from asserting the claims alleged since at all times
 6   relevant, the Defendants properly complied with relevant California and federal law,
 7   acted in reliance upon such operative law, statutes, and regulations, and believe such
 8   law, statutes, and regulations were constitutional and said law, statutes, and regulations
 9   had not been declared unconstitutional or otherwise unlawful by a court of competent
10   jurisdiction at the time of the events.
11    EIGHTEENTH AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT
12               AND EACH PURPORTED CAUSE OF ACTION THEREIN
13         18.    Defendants are entitled to dismissal of all claims on grounds of the doctrine
14   of qualified immunity, because the Defendants’ conduct did not violate clearly
15   established statutory or constitutional rights of which a reasonable person would have
16   known.
17    NINETEENTH AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT
18               AND EACH PURPORTED CAUSE OF ACTION THEREIN
19         19.    Plaintiff’s FAC and claims are barred by the Eleventh Amendment to the
20   United States Constitution.
21     TWENTIETH AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT
22               AND EACH PURPORTED CAUSE OF ACTION THEREIN
23         20.    Plaintiff’s claims are barred because accommodation of Plaintiff’s
24   religious beliefs would constitute an undue hardship on the operations of the school
25   district and would put some students at risk of harm.
26   TWENTY FIRST AFFIRMATIVE DEFENSE TO PLAINTIFF’S COMPLAINT
27               AND EACH PURPORTED CAUSE OF ACTION THEREIN
28                                       17
                  VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
              FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 18 of 19 Page ID #:470




 1         21.   Defendants are entitled to dismissal of all claims on grounds of the doctrine
 2   of absolute immunity, because the Defendants’ conduct did not violate clearly
 3   established statutory or constitutional rights of which a reasonable person would have
 4   known.
 5         TWENTY SECOND AFFIRMATIVE DEFENSE TO PLAINTIFF’S
 6     COMPLAINT AND EACH PURPORTED CAUSE OF ACTION THEREIN
 7         22.   Defendants allege that there may be additional affirmative defenses to
 8   Plaintiff’s causes of action that are currently unknown to Defendants, and Defendants
 9   reserve the right to amend this Answer to allege additional affirmative defenses in the
10   event discovery or other information indicates they are appropriate.
11                              DEMAND FOR JURY TRIAL
12         Defendants hereby demand a jury trial.
13                                 PRAYER FOR RELIEF
14         WHEREFORE, Defendants pray for judgment against Plaintiff according to law
15   and according to proof, as follows:
16         1.    Plaintiff takes nothing by reason of her Complaint;
17         2.    Plaintiff’s Complaint be dismissed with prejudice;
18         3.    Defendants be awarded their costs of suit incurred and attorney fees; and
19         4.    That this Court award such other and further relief it deems just and proper.
20
21   Dated: November 27, 2023                     Respectfully Submitted,
                                                  WALSH & ASSOCIATES, APC
22
23
24
                                                  ____________________________
25                                                Dennis J. Walsh, Esq.
                                                  Arash Arjang, Esq.
26
                                                  Attorneys for Defendants
27
28                                       18
                  VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
              FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
Case 5:23-cv-00789-FMO-E Document 37 Filed 11/27/23 Page 19 of 19 Page ID #:471




 1                                      VERIFICATION
 2         I, Michael Rogers, am an agent of Defendant JURUPA UNIFIED SCHOOL
 3   DISTRICT. I have read the attached Verified Answer and Affirmative Defenses and
 4   know the contents thereof. The contents are true to the best of my knowledge based
 5   upon information and documentation maintained by JURUPA UNIFIED SCHOOL
 6   DISTRICT.
 7         I declare under penalty of perjury under the laws of the State of California and
 8   the United States that the foregoing is true and correct.
 9
10   Dated: November 27, 2023
11   Jurupa Valley, California
12
13
14   /s/ Michael Rogers
15   Michael Rogers, Declarant
16
17
18
19
20
21
22
23
24
25
26
27
28                                      19
                 VERIFIED ANSWER OF DEFENDANTS TO PLAINTIFF’S
             FIRST AMENDED COMPLAINT - CASE NO. 5:23-cv-00789-FMO-E
